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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :   CASE NO.
                                                 :
             v.                                  :   VIOLATIONS:
                                                 :
THOMAS PHAM LEGRO,                               :   18 U.S.C. § 2252(a)(4)(B)
                                                 :   (Possession of Child Pornography)
             Defendant.                          :
                                                 :
                                                 :
                                                 :

       MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion.

        In support of this motion, the government states as follows:

        1.        The Criminal Complaint charges the defendant with the violation of 18 U.S.C. §

 2252(a)(4)(B) (Possession of Child Pornography).

        2.         The Criminal Complaint charges the defendant with committing the above-

 referenced violation in connection with his receipt of a multiple videos depicting a minor child

 engaging in sexually explicit conduct.

        3.         As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

 there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1)
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    closure serves a compelling interest; (2) there is a substantial probability that, in the absence of

    closure, this compelling interest would be harmed; and (3) there are no alternatives to closure

    that would adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub.

    Co. v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

           4.      In this matter, the United States has a compelling interest in preserving the

    integrity of its investigation and arresting the defendant. A limited sealing order ensuring that

    filings related to the Criminal Complaint and Arrest Warrant are not accessible from the

    Court’s public files is narrowly tailored to serve a compelling interest.

           5.      Furthermore, the United States respectfully submits that complying with the

    normal notice requirements of Washington Post would defeat the purpose of the motion to

    seal. Persons who know the criminal justice system also know that docketing a motion to seal

    an Affidavit in Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order,

    means that the defendant is charged with a crime, and the Government intends to arrest him.

    Thus, if this Motion or a sealing order were to become public, it would be the same as making

    public the Complaint and Arrest Warrant.

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       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.


                                             Respectfully submitted,

                                             JEANINE FERRIS PIRRO
                                             UNITED STATES ATTORNEY

                                              By: /s/ Caroline E. Burrell
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